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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


JANET CRANE, as Administrator of the Estate
of BROCK TUCKER,                                   MEMORANDUM IN OPPOSITION TO
                                                      DEFENDANTS’ MOTION FOR
               Plaintiff,                           JUDGMENT ON THE PLEADINGS
       vs.
UTAH DEPARTMENT OF CORRECTIONS,
ALFRED BIGELOW, RICHARD GARDEN,                    Case No. 2:16-CV-01103-DN
DON TAYLOR, OFFICER COX, BRENT                     Judge: David Nuffer
PLATT, SUSAN BURKE, FUTURES
THROUGH CHOICES, INC., UNIVERSAL
HEALTH SERVICES, INC., and JEREMY
COTTLE,),
               Defendant.


       Plaintiff Janet Crane as administrator of the Estate of Brock Tucker, through counsel,

respectfully submits the following Memorandum in opposition to Defendant’s Motion for

Judgment on the Pleadings.

       /

       /


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                                        LEGAL STANDARD

        The Defendants have filed a motion on behalf of the “State Defendants” for Judgment on

the Pleadings. The standard for such a motion is high. In Ashcroft v. Iqbal, 556 U.S. 662, 677–

78, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) the Court held,

        Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a “short
        and plain statement of the claim showing that the pleader is *678 entitled to relief.”
        As the Court held in Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929, the
        pleading Robert standard Rule 8 announces does not require “detailed factual
        allegations,” but it demands more than an unadorned, the-defendant-unlawfully-
        harmed-me accusation.

The Court explained further,

        To survive a motion to dismiss, a complaint must contain sufficient factual matter,
        accepted as true, to “state a claim to relief that is plausible on its face.” Id., at 570,
        127 S.Ct. 1955. A claim has facial plausibility when the plaintiff pleads factual
        content that allows the court to draw the reasonable inference that the defendant is
        liable for the misconduct alleged. Id., at 556, 127 S.Ct. 1955. (Ashcroft v. Iqbal,
        556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009))

        The court will grant a motion for judgment on the pleadings only when the factual

allegations in the complaint fail to “state a claim to relief that is plausible on its face,” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).

        The Defense has filed a motion for Judgment on the Pleadings pursuant to Rule 12(c) of

the Federal Rules of Civil Proceedings (FRCP), and therefore, pursuant to FRCP Rule 12(d), the

motion is treated as a Motion for Summary Judgment under FRCP Rule 56. Under FRCP Rule

56(c)(1)(A) “A party asserting that a fact…is genuinely disputed must support the assertion by:

(A) citing to particular parts of material in the record”.

                   RELEVANT FACTS IN THE AMENDED COMPLAINT

        Plaintiff has reviewed the defendants recitation of the relevant facts found in the

Amended Complaint (Docket 39) and agrees that those particular facts are included in the

Amended Complaint. Plaintiffs, however, would submit that list is woefully incomplete. The


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defendants have listed 43 brief relevant facts covering a total of three pages of their

memorandum. They ignore the vast majority of the 166 numbered allegations contained in 38

pages of the Plaintiffs 43 page Amended Complaint. Rather than listing the 166 paragraphs

containing allegations supporting liability in a list of relevant fact for this memorandum,

Plaintiffs refer to the Amended Complaint, and incorporate those allegations by such reference.

These alleged relevant facts included in the Amended Complaint will be addressed below as

applied to the specific claims made in the Defendant’s Motion for Judgment on the Pleadings.

                                           ARGUMENT

                                              POINT I

  Plaintiff has properly and sufficiently alleged a viable claim for relief under the eighth
  amendment against Warden Bigelow and Dr. Garden and have linked their actions to
                             alleged unconstitutional conduct.

         Plaintiff has made a claim against Defendants pursuant to 42 U.S.C.A. § 1983, which

provided in relevant part:

         Every person who, under color of any statute, ordinance, regulation, custom, or
         usage, of any State or Territory or the District of Columbia, subjects, or causes to
         be subjected, any citizen of the United States or other person within the
         jurisdiction thereof to the deprivation of any rights, privileges, or immunities
         secured by the Constitution and laws, shall be liable to the party injured in an
         action at law, suit in equity, or other proper proceeding for redress[.]

         The standard to be applied in both jail and prison conditions § 1983 cases is the standard

of "deliberate indifference." Farmer v. Brennan, Farmer v. Brennan, 511 U.S. 825, 114 S. Ct.

1970, 128 L. Ed. 2d 811 (1994), ( See also, Wilson v. Seiter, 501 U.S. 294, 111 S.Ct. 2321

(1991)). A discussion by the Eleventh Circuit of what conduct is and is not deliberately

indifferent can be found in Hill v. DeKalb Youth Detention Center, 40 F.3d 1176 (11th Cir.

1994).




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       In Farmer, the Supreme Court undertook to define and explain the term "deliberate

indifference. " In that case, a transsexual inmate with feminine characteristics who was

incarcerated with other males claimed to have been beaten and raped by another inmate. In his

lawsuit, the inmate alleged that Wisconsin prison officials had acted with deliberate indifference

to his safety in violation of the Eighth Amendment because they knew that the penitentiary had a

violent environment and a history of inmate assaults and that he would be particularly vulnerable

to sexual attack. The district court granted summary judgment in favor of the prison officials,

and the Seventh Circuit affirmed. On review of the case by the Supreme Court, the Court was

called upon to define the term "deliberate indifference. " In so doing, the Court referred to the

subjective component of the inquiry:

       We hold . . . that a prison official cannot be found liable under the Eighth
       Amendment for denying an inmate humane conditions of confinement unless the
       official knows of and disregards an excessive risk to inmate health or safety; the
       official must both be aware of facts from which the inference could be drawn that
       a substantial risk of serious harm exists, and he must also draw the inference. . . .
       [A]n official's failure to alleviate a significant risk that he should have perceived
       but did not, while no cause for commendation, cannot under our cases be
       condemned as the infliction of punishment. (Farmer, 114 S.Ct. at 1979).

       Thus, in the case of inmate-on-inmate violence, as in other jail-related claims, the

plaintiff must demonstrate that jail officials knew of a substantial risk of serious harm.

"Deliberate indifference" requires that a deliberate choice be made to do or not to do something.

Failing to act when the risk is not perceived is not deliberate and is not unconstitutional. In

Redmond v. Crowther, 882 F.3d 927, 939-940 (10th Cir. 2018) the Court defined Deliberate

Indifference to Serious Medical Needs as follows:

       “[D]eliberate indifference to serious medical needs of prisoners” violates the
       Eighth Amendment. Estelle v. Gamble, 429 U.S. 97, 104–05, 97 S.Ct. 285, 50
       L.Ed.2d 251 (1976). To establish an Eighth Amendment claim based on
       inadequate medical care, the prisoner must prove both an objective component and
       a subjective component. Self v. Crum, 439 F.3d 1227, 1230–31 (10th Cir. 2006).



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           The objective component requires showing the alleged injury is “suftyious.” Id. at
           1230… The subjective component requires showing the prison official “knew [the
           inmate] faced a substantial risk of harm and disregarded that risk by failing *940 to
           take reasonable measures to abate it.” Martinez v. Beggs, 563 F.3d 1082, 1088–89
           (10th Cir. 2009). The subjective prong is met if prison officials “intentionally deny
           [ ] or delay[ ] access to medical care or intentionally interfere[ ] with the treatment
           once prescribed.” See Estelle, 429 U.S. at 104–05, 97 S.Ct. 285.

           The deliberate indifference standard also is applied in cases involving jail or prison

suicides. The plaintiff, a representative of the deceased inmate's estate, must show that the jail

official displayed "deliberate indifference" to the prisoner's taking of his own life. In Cox v.

Glanz, 800 F.3d 1231, 1247–48 (10th Cir. 2015) the Court held,

           Prison and jail officials, as well as the municipal entities that employ them, *1248
           cannot “absolutely guarantee the safety of their prisoners.” Lopez v. LeMaster, 172
           F.3d 756, 759 (10th Cir.1999). Nonetheless, they “ha[ve] a constitutional duty to
           take reasonable steps to protect the prisoners' safety and bodily integrity.” Berry v.
           City of Muskogee, 900 F.2d 1489, 1499 (10th Cir.1990). “[C]laims based on a jail
           suicide are considered and treated as claims based on the failure of jail officials to
           provide medical care for those in their custody.” Barrie v. Grand Cty., 119 F.3d
           862, 866 (10th Cir.1997). Therefore, such claims “must be judged against the
           ‘deliberate indifference to serious medical needs' test.”

           A finding of deliberate indifference requires that officials have notice of the suicidal

tendency of the individual whose rights are at issue in order to be held liable for the suicide of

that individual. Under that criteria the Defendants are liable if the Plaintiff can establish that

there was a known risk of suicide, the Defendants knew or reasonably should have known of the

risk and ignored the risk. In analyzing this standard under the current Motion for Judgment on

the Pleading, the Plaintiff agrees with the Defendants statement,

           to avoid dismissal the complaint must plead sufficient facts, that when taken as
           true, provide “plausible grounds” that “discovery will reveal evidence” to support
           plaintiff’s allegations.1 “The burden is on the plaintiff to frame a complaint with
           enough factual matter (taken as true) to suggest that he or she is entitled to relief.”2
           (Defendant’s Motion for Judgment on the Pleadings pg. 2)


1
    Bell Atlantic Corp. V. Twombly, 550 U.S. 544, 556 (2007).
2
    Estate of Guerrero v. Crowther, 2017 WL 1288565, at *1 (D. Utah Apr. 6, 2017).


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        Under these legal standards, the Plaintiff respectfully submits the following analysis

establishing the sufficiency of their pleadings.

        A. Claims against Warden Bigelow

        Defendants claim Plaintiff has not alleged any relevant affirmatively, personal

participation, or interactions with Tucker.”3 In fact, plaintiff have alleged “At all relevant times,

Defendant Bigelow was responsible for the hiring and training of staff, and for the creation and

oversight of policies, practices and customs regarding the mental health treatment of inmates, the

disciplinary process, and the use of solitary confinement at CUCF during the period of time

Brock was incarcerated at that facility.” (Amended Complaint ¶ 8) Despite Defendants’ claim,

Warden Bigelow was responsible for the CUCF facility and despite Defendants’ claim that

Warden Bigelow had no personal knowledge or interaction with Brock4, there is no evidence to

that effect, and Plaintiff has in fact alleged that Bigelow was aware that CUCF subjected

inmates, including Brock, to extremely disproportional punishments and repeated use of solitary

confinement depriving them of human dignity, sanity, and inflicted emotional distress, loneliness

and failed to treat mentally ill inmates.5 Furthermore, plaintiff alleges that CUCF policy

regarding outpatient care disciplinary actions was in effect during the relevant period of time,

and Warden Bigelow was the one responsible for that procedure to implement and see that it was

carried out.6 The Amended Complaint also alleges Warden Bigelow, as one of the CUCF

defendants, was liable for deprivation of Brock’s eighth amendment constitutional rights, and

that he perpetrated, encouraged and/or approved the acts and omissions alleged herein, knowing




3
  Defendants Motion for Judgment on Pleadings pg. 10
4
  Defendants Motion for Judgment on Pleadings pg. 10.
5
  Amended Complaint paragraph 8.
6
  Amended Complaint paragraphs 65-67.


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that he was in violation of Brock’s constitutional rights.7

        Additionally, Plaintiff claims that each of the CUCF defendants (Alfred Bigelow,

Richard Garden, Don Taylor and Officer Cox) acting in their individual capacities were liable for

Brock’s constitutional deprivations. The plaintiff further alleges that the “CUCF defendants

perpetrated, encouraged and/or approved of the acts and omissions alleged herein and knew that

such conduct was unjustified and was in violation of Brock’s constitutional rights”… and the

acts and omissions of the CUCF and defendants were the direct and proximate cause the death of

Brock in that the CUCF defendants caused, and failed to prevent, the occurrence of constitutional

violations suffered by Brock.8

        The Plaintiff further claims with regards to Warden Bigelow that “CUCF defendants acts

and omissions were especially egregious, given CUCF defendants knew it would cause or

exacerbate Brock’s well-documented brain damage, severe mental illness, mental anguish,

helplessness, depression, anxiety, and suicidal tendencies, and the Brock’s conduct for which he

was being punished by the CUCF defendants and placed in isolation was a product of his brain

damage, low IQ, and mental illness.9 Plaintiff also alleges that CUCF defendants infliction of

significant psychological and physical harm constitutes an intolerable practice in modern society

and violates the Eighth Amendment to the United States Constitution.10

        Plaintiff alleges that all the CUCF defendants were aware of the deprivation suffered by

Brock and have been deliberately indifferent to his needs. Plaintiffs further allege that it should

have been obvious to the CUCF defendants and to any reasonable person that the conditions

imposed on Brock would cause tremendous anguish, suffering, pain, and a much higher risk of


7
  Amended Complaint paragraphs 73 - 77.
8
  Amended Complaint paragraphs 73- 77.
9
  Amended Complaint paragraphs 81-82.
10
   Amended Complaint paragraphs 83-84.


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suicide. Moreover, the CUCF defendants were aware that Brock was already suffering from

mental illness, the Brock and repeatedly complained he was being mistreated by staff and that

Brock was experiencing significant and lasting injury.11

        Plaintiff alleged in the Amended Complaint that Brock was sentenced to prison in August

2012 and on September 15, 2012 he entered prison as a 17-year-old he was shortly thereafter

transferred to the CUCF facility. He never left that facility, and during his stay up until the time

of his death on October 2, 2014, he was sentenced to punitive isolation for over 154 days. During

this time, he was also seen by Dr. Bruce Burnham for medical and mental illness, and was

diagnosed with significant mental health illnesses and was prescribed psychological medications.

He was also seen by a social worker and filed grievances regarding his mistreatment at the

prison. CUCF defendants including Warden Bigelow oversaw that facility and knew of his

mental health diagnosis and his grievances yet failed to act in any reasonable way remedy these

issues.12

        Further Warden Bigelow was aware of or should have been aware of his own CUCF

Policy “FD18/12.03” which provides: “Procedure: Outpatient Care Disciplinary Action:

When disciplinary action is being considered for an offender in outpatient treatment, the

psychiatrist mental health staff shall provide information to the discipline hearing officer stating

whether or not the behavior was due to mental illness.”13 Despite this knowledge, the Amended

Complaint alleges Warden Bigelow failed to do his duties of following up on this matter and

allowed the punitive isolation to occur on numerous occasions including the last one in which

Brock committed suicide.14


11
   Amended Complaint paragraphs 88-89.
12
   Amended Complaint paragraphs 43- 64.
13
   Amended Complaint paragraph 65.
14
   Amended Complaint paragraphs 66-68.


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        Contrary to the defendants’ motion for judgment on the pleadings, plaintiff did in fact

“identify a policy Warden Bigelow promulgated, created, implemented or possessed

responsibility for which may have led directly or indirectly to [Brock] Tucker’s death”.15


        B. Claims against Dr. Garden

              Defendants claim Plaintiff has not alleged any relevant affirmatively, personal

participation, or interactions with Tucker.”16 In fact, plaintiffs have alleged “At all relevant

times, Dr. Garden was the Director of the Clinical Services Bureau for the Utah Department of

Corrections. As the Director, along with Defendant Bigelow, Garden was responsible for the

oversight and control over the policies and procedures for medical and mental health treatment

at CUCF. Garden had the responsibility to manage, oversee, create policy for, and administer

such policies and procedures at CUCF, relating to treating mentally ill inmates, including

Brock. Garden was also responsible for hiring, administering, supervising and training

employees and contractors who attended to inmates with medical and mental health problems.

Garden is being sued in his individual capacity. (Amended Complaint ¶ 9) Despite Defendants

claim, Dr. Garden was responsible for all medical and psychological responsibilities at the

CUCF facility and despite defendants claim that Dr. Garden had no personal knowledge or

interaction with [Brock] Tucker17, there is no evidence to that effect and Plaintiff has in fact

alleged but Dr. Garden was aware that CUCF subjected inmates including brought to extremely

disproportionate of punishments and repeated use of solitary confinement, and inflicted

emotional distress loneliness and failed to treat his mentally ill inmates.18 Furthermore, plaintiff

alleges that CUCF policy regarding outpatient care disciplinary actions was in effect during the

15
   Defendants Motion for Judgment on Pleadings pg. 10.
16
   Defendants Motion for Judgment on Pleadings pg. 10.
17
   Defendants Motion for Judgment on Pleadings pg. 11.
18
   Amended Complaint paragraph 11.


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relevant period of time, and Dr. Garden was the one responsible for that procedure to

implement and see that it was carried out.19 The Amended Complaint also alleges that Dr.

Garden, as one of the CUCF defendants, was liable for deprivation of Brock’s eighth

amendment constitutional rights, and that he perpetrated, encouraged and/or proved the acts or

admissions alleged herein, and knew that such conduct was unjustified and was in violation of

Brock’s constitutional rights.20

        Additionally, Plaintiff claims that each of the CUCF defendants (Alfred Bigelow,

Richard Garden, Don Taylor and Officer Cox) acting in their individual capacities are liable for

Brock’s constitutional deprivations. The plaintiff further alleges that the “CUCF defendants

perpetrated, encouraged and/or approved of the acts and omissions alleged herein, and knew that

such conduct was unjustified and was in violation of Brock’s constitutional rights”… and the

acts and omissions of the CUCF at defendants were the direct and proximate cause the death of

Brock in that the CUCF defendants caused, and failed to prevent, the occurrence of constitutional

violations suffered by Brock.21

        The Plaintiff further claims with regards to Dr. Garden that “CUCF defendants’ acts and

omissions were especially egregious, given CUCF defendants knew it would cause or exacerbate

Brock’s well-documented brain damage, severe mental illness, mental anguish, helplessness,

depression, anxiety, and suicidal tendencies, and the Brock’s conduct for which he was being

punished by the CUCF defendants and placed in isolation was a product of his brain damage,

low IQ, and mental illness.22 Plaintiff also alleges that CUCF defendants infliction of significant




19
   Amended Complaint paragraphs 65-67.
20
   Amended Complaint paragraphs 73 - 77.
21
   Amended Complaint paragraphs 73- 77.
22
   Amended Complaint paragraphs 81-82.


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psychological and physical harm constitutes an intolerable practice in modern society and

violates the eighth amendment to the United States Constitution.23

        Plaintiff alleges that all the CUCF defendants were aware of the deprivation suffered by

Brock and have been deliberately indifferent to his needs. Plaintiff further alleges that it should

have been obvious to the CUCF defendants and to any reasonable person that the conditions

imposed on Brock would cause tremendous anguish, suffering, pain, and a much higher risk of

suicide. Moreover, the CUCF defendants were aware that Brock was already suffering from

mental illness, the Brock and repeatedly complained he was being mistreated by staff and that

Brock was experiencing significant and lasting injury.24

        Plaintiff alleged in the Amended Complaint that Brock was sentenced to prison in August

2012 and on September 15, 2012 he entered prison as a 17-year-old he was shortly thereafter

transferred to the CUCF facility. He never left that facility, and during his stay up until the time

of his death on October 2, 2014, he was sentenced to punitive isolation for over 154 days. During

this time, he was also seen by Dr. Bruce Burnham for medical and mental illness and was

diagnosed with significant mental health illnesses and was prescribed psychological medications.

He was also seen by a social worker and filed grievances regarding his mistreatment at the

prison. CUCF defendants including Dr. Garden oversaw that facility and knew of his mental

health diagnosis and his grievances yet failed to act in any reasonable way remedy these issues.25

        Further Dr. Garden was aware of or should have been aware of the CUCF Policy

“FD18/12.03” whi ch provides: “Procedure: Outpatient Care Disciplinary Action: When

disciplinary action is being considered for an offender in outpatient treatment, the psychiatrist

mental health staff shall provide information to the discipline hearing officer stating whether or

23
   Amended Complaint paragraphs 83-84.
24
   Amended Complaint paragraphs 88-89.
25
   Amended Complaint paragraphs 43-64.


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not the behavior was due to mental illness.”26 Despite this knowledge, the Amended Complaint

alleges Dr. Garden failed to do his duties of following up on this matter and allowed the punitive

isolation to occur on numerous occasions including the last one in which [Brock] committed

suicide.27

        It is presumed and alleged in the Amended Complaint that as the acting medical director

of the CUCF facility Dr. Garden was aware of the state of psychological issues regarding prison

and suicide. Specifically, plaintiff alleged in the Amended Complaint as follows:

     CUCF Defendants' acts and omissions violated contemporary standards of human
     dignity and decency as evidenced by the fact that Utah has the highest number of prison
     inmate suicides nationally, with that number exponentially growing during the time of
     Brock’s incarceration and suicide.
     The unconstitutionality of the CUCF Defendants' acts and omissions with respect to Brock
     is also evidenced by the international community’s condemnation of the practice of
     prolonged and indefinite solitary confinement under very harsh and stifling conditions,
     such as those that existed at CUCF. Such condemnation is reflected in international
     treaties such as the Convention Against Torture, the International Covenant on Civil and
     Political Rights, decisions and declarations of international bodies, customary international
     law, and decisions of regional and national courts, such as the European Court of Human
     Rights and Canadian courts. The outrageousness and illegality of holding Brock in
     isolation for extended periods of time, and the significantly higher risk of suicide because
     of that isolation, was at all relevant times reflected in easily-accessible literature, including
     the following: Metzner, J. & Fellner, J., “Solitary Confinement and Mental Illness in U.S.
     Prisons: A Challenge for Medical Ethics,” J Am Acad Psychiatry Law 38:1:104–108
     (March 2010); Reyes, H., “The worst scars are in the mind: psychological torture,” Int.
     Rev. Red Cross 89:591–617 (2007); Basoglu, M, Livanou, M., Crnobaric, C., “Torture vs.
     other cruel, inhuman and degrading treatment: is the distinction real or apparent?” Arch
     Gen Psychiatry 64: 277–85 (2007); Smith, PS: The effects of solitary confinement on
     prison inmates: a brief history and review of the literature,” Crim. Just. 34:441–568
     (2006); Abaramsky, S. & Fellner, J., “Ill-equipped: US prisons and offenders with mental
     illness,” Human Rights Watch, 145–68 (2003); White, T., Schimmel, D., Frickey, R., “A
     comprehensive analysis of suicide in federal prisons: a fifteen-year review,” J. Correct.
     Health Care 9:321–43 (2002).28

        The plaintiff has alleged Dr. Garden was the individual responsible for the medical and

mental health treatment at the CUCF facility and as such had knowledge or intentionally turned a

26
   Amended Complaint paragraph 65.
27
   Amended Complaint paragraphs 66-68.
28
   Amended Complaint paragraphs 86-87.


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blind eye to the continual and excessive abuses at the facility. There is no question that this

constitutes deliberate indifference as set forth in the plaintiff’s Amended Complaint.

Specifically, paragraph 88 of that complaint states “CUCF defendants were aware of all the

deprivation suffered by Brock and have condone them and have been deliberately indifferent to

Brock’s needs.” Paragraphs 89 through 100 allege that Dr. Garden breached his duty as the

medical director the facility and this deliberate indifference to Brock’s needs constituted a

violation of his constitutional rights as set forth in the Amended Complaint.

       Some of the allegations in the Amended Complaint with regards to Dr. Garden include,

citing to the Amended Complaint paragraphs.

       ¶ 88. CUCF Defendants were aware of all the deprivations suffered by Brock and have

condoned them and have been deliberately indifferent to Brock’s needs.

       ¶ 89. It should have been obvious to the CUCF Defendants and to any reasonable person

that the conditions imposed on Brock would cause tremendous mental anguish, suffering, pain,

and a much higher risk of suicide. Moreover, the CUCF Defendants were aware that Brock was

already suffering from mental illness, that Brock had repeatedly complained he was being

mistreated by staff, and that Brock was experiencing significant and lasting injury. CUCF

Defendants were deliberately indifferent to Brock's tremendous anguish, pain, suffering, and

increased risk of suicide.

       ¶ 90. CUCF Defendants knew that, as a result of being placed in isolation, there was a

strong likelihood that Brock was in danger of serious personal harm, including self-harm and

suicide.

       ¶ 91. CUCF defendants own at least the following duties to Brock.

           a. to ensure that Brock, who was subjected to institutional discipline for minor
              offenses and was suffering from mental illness and disabilities, was not deprived of



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                basic human needs, including, but not limited to, human contact, environmental
                and sensory stimulation, attention to mental and physical health, physical exercise,
                sleep, nutrition, and meaningful activity;

           b. to ensure Brock’s safety;

           c. to ensure that Brock was given the proper medical and mental health care;

           d. to ensure that Brock was provided a level of health care that a civilized society

                would think necessary;

           e. to conduct an appropriate and complete suicide assessment;

           f. to create and implement an appropriate mental health treatment plan;

           g. to follow clinical judgments and recommendations;

           h. to promptly evaluate Brock, who was gravely disabled and at risk of serious harm,

                and transfer him to a psychiatric hospital; and

           i.   to take precautions to prevent Brock’s suicide.

        92. Defendants breached these duties and were deliberately indifferent to Brock’s needs

in at least the following particulars:

        Repeatedly placing Brock in prolonged isolation thereby exposing an extremely

disproportionate punishment without legitimate penological interest for infractions that were

minor and nonviolent. Failing to ensure that Brock was provided with a level of care that a

civilized society would think necessary. Failing to intervene and prevent Brock’s death by

suicide.

        ¶ 94. Defendants’ acts and omissions as alleged herein, including, but not limited to, their

failure to provide Brock with medical or psychiatric care and/or to take other measures to protect

him from physical, emotional, and mental harm and to prevent his attempting suicide after notice




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of his psychiatric condition, and while being held in isolation, constituted deliberate indifference

to Brock's serious medical needs, health and safety.

           ¶ 95. As a direct and proximate result of CUCF Defendants’ conduct and omissions,

Brock experienced physical pain, severe emotional distress and mental anguish, deep depression,

crushing loneliness, as well as the loss of his life and other damages alleged herein.

           ¶ 96. Considering Brock’s brain damage and an extremely low IQ, coupled with a

current and ongoing diagnosis of major depressive disorder and unspecified psychosis, and the

crushing psychological impact of prolonged isolation, Brock’s death was manifestly foreseeable.

           Contrary to the defendant’s motion for judgment on the pleadings, plaintiff did in fact

“allege [] facts showing that Dr. Garden had any personal knowledge of or interaction with

Tucker or that he knew there was a substantial risk that Tucker might attempt suicide. ”.29



                                                     POINT II

     Plaintiff has adequately alleged a viable first, second, and third claim for relief under the
               eight amendment against hearing Officer Don Taylor and Officer Cox.

           Defendant generally argues that the claims against officers Taylor and Cox should be

dismissed because they are entitled to qualified immunity. This argument apparently is based on

a claim that plaintiff’s allegations were that “CUCF, that “[i]n essence, this [Complaint] amounts

to an argument that the CUCF guards and disciplinary officers had a constitutional obligation to

perform psychological screening of the plaintiff. There is no such constitutional obligation”.30




29
     Motion for Judgment on Pleadings pg. 11.
30
     Motion for Judgment on Pleadings pg. 11-12 (citing, Graham v. Van Der Veur, 986 F.2d 1427 (10th Cir. 1992)).


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          Plaintiff would submit that Defendant has misread the Graham v. Van Der Veur, 986

F.2d 1427 (10th Cir. 1992).31 Defendant contends that Graham somehow expands qualified

immunity to any correctional officer that does not have a degree in psychology. That is not the

holding of that case nor are the facts similar to the case at bar. In Graham, the Court dismissed

the claims because the plaintiff failed to establish “two elements (1) objectively, the plaintiff had

serious medical needs and (2) subjectively, the defendants were deliberately indifferent to those

serious medical needs”32. In the case at bar Plaintiff has clearly alleged both elements. It is

instructive to note the court’s reasoning in Graham with regards to these two elements. In

Graham, the court states as follows,

                  A medical need is objectively serious when a physician has diagnosed the
          need as demanding treatment or when the medical need is so obvious that even a
          lay person would recognize the need for treatment. Ramos v. Lamm, 639 F.2d 559,
          575 (10th Cir.1980), cert. denied, 450 U.S. 1041 (1981); Gomm v. DeLand, 729
          F.Supp. 767, 778 (D.Utah 1990). The plaintiff, however, has not alleged that he
          was diagnosed as manic depressive prior to this incident and raging is not so
          obvious that a reasonable lay person would recognize the need for treatment.
          Objectively, the plaintiff has not presented facts which would show he had a
          serious medical need. Assuming manic depression to be a serious medical need,
          the second prong should be explored.
                  Moreover, there is no showing that any defendant was deliberately
          indifferent to the plaintiff's medical needs. The plaintiff was raging and the officers
          on the scene needed to quell the disturbance. Following this interlude, the plaintiff
          was punished for the disturbance. Rather than alleging that the defendants were
          deliberately indifferent to a serious medical need, plaintiff has alleged that the
          defendants were negligent in failing to notice his psychological condition and
          negligent in assessing the effect of their decisions upon his psychological
          condition. This does not amount to a violation of the eighth amendment, since a
          misdiagnosis or an inadvertent medical mistake is not a constitutionally cognizable
          claim. Estelle, 429 U.S. at 106; McCracken v. Jones, 562 F.2d 22, 25-26 (10th
          Cir.1977).(Graham v. Van Der Veur, 986 F.2d 1427 (10th Cir. 1992)).


31
  This is an unpublished opinion, and thus counsel has an obligation to notify the Court of the nature of the
opinion. Plaintiff cites this case simply in response to the Defendant’s citation and claim that this establishes legal
precedent that defendants Cox and Taylor have qualified immunity.
32
     Graham v. Van Der Veur, 986 F.2d 1427 (10th Cir. 1992).




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       In the case at bar, plaintiff does not allege that defendants Cox and Taylor needed to

observe Brock or make a psychological diagnosis. Rather, the psychological diagnosis together

with the risk of suicide and the attending visits to doctors was well known to both officers.

Furthermore, CUCF Policy “FD18/12.03” provides: “Procedure: Outpatient Care Disciplinary

Action, when disciplinary action is being considered for an offender in outpatient treatment, the

psychiatrist mental health staff shall provide information to the discipline hearing officer stating

whether or not the behavior was due to mental illness.”33 The Amended Complaint alleges that

the Prison Dr. notified the inmate disciplinary hearing officer pursuant to that procedure that

Brock had a mental illness with suicidal ideations. It is further alleged that Officer Taylor

(IDHO) received these notices. Despite this knowledge, the Amended Complaint alleges officer

Taylor failed to do his duty of following up on this matter and allowed the punitive isolation to

occur on numerous occasions including the last one in which Brock committed suicide.34

        It is further alleged the defendant Cox knew and should have known, that Brock had a

 long history of severe mental health conditions including brain damage, unspecified psychosis,

 and major depressive disorder; that Brock was under treatment for these conditions; and that

 prolonged periods of isolation tortured Brock and would cause or exacerbate severe mental

 illness, mental anguish, helplessness, depression, anxiety, insanity, and suicidal tendencies.35

 The Amended Complaint alleges that “on the day of Brock’s death defendant Cox should have

 known, and did not know that Brock was a significantly increased suicide risk.”36

        The Amended Complaint also alleges that “on the day of Brock’s death Defendant Cox,

 acting with deliberate indifference and in violation of prison policy, entered Brock’s isolation


33
   Amended Complaint paragraph 65.
34
   Amended Complaint paragraphs 102-108.
35
   Amended Complaint paragraph 114.
36
   Amended Complaint ¶ 115.


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 cell alone, got into a verbal altercation with Brock, and refused to allow Brock out of his cell

 that day for exercise, all of which foreseeably and proximately caused Brock to lose his life by

 suicide.37 Additionally, the Amended Complaint alleges that Defendant Cox, again acting with

 deliberate indifference, failed to monitor Brock to prevent his suicide even when put on notice

 of the possibility of a suicide attempt when Brock hung a towel over the window of his cell

 prior his suicide.38 The Amended Complaint specifically alleges that defendant Cox’s actions

 and deliberate indifference deprived Brock of his rights under the eighth amendment due to his

 loss of life.39

        A. IDHO Taylor’s sentence to Brock with Punitive Isolation was done in violation
           of the eighth amendment.

        Defendant argues “The claim here appears to be that punitive isolation is on its face an

Eighth Amendment violation. But deliberate indifference requires actual misconduct. Sentencing

inmates to punitive isolation is not deliberate indifference.40 In Farmer v. Brennan, 511 U.S.

825, 828–29, 114 S. Ct. 1970, 1974, 128 L. Ed. 2d 811 (1994), the Supreme Court of the United

States held,

        A prison official's “deliberate indifference” to a substantial risk of serious harm to
        an inmate violates the Eighth Amendment. See Helling v. McKinney, 509 U.S. 25,
        113 S.Ct. 2475, 125 L.Ed.2d 22 (1993); Wilson v. Seiter, 501 U.S. 294, 111 S.Ct.
        2321, 115 L.Ed.2d 271 (1991); *829 Estelle v. Gamble, 429 U.S. 97, 97 S.Ct. 285,
        50 L.Ed.2d 251 (1976).

        The Court went further to set forth the requirements for an Eighth Amendment violation.

This is a two-step analysis with the first step requiring, “the deprivation allege must be

objectively sufficiently serious,” and must result in the denial of a minimal civilized major of

life’s necessities”, and finally “the inmate must show he is incarcerated under conditions posing

37
   Amended Complaint ¶ 116.
38
   Amended Complaint ¶ 117.
39
   Amended Complaint ¶ 118.
40
   Motion for Judgment on Pleadings pg. 12.


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a substantial risk of serious harm.” (Id. at 834) The second requirement under Farmer in

showing a violation of the cruel and unusual punishments clause, “a prison official must have a

sufficiently culpable state of mind.” The Court goes further to state “in prison conditions cases,

that state of mind is one of deliberate indifference to inmate health or safety.” (Id. at 834)

           As set forth in Point II above, the Amended Complaint specifically alleges that Officer

Taylor knew of the prison policy, was also informed on several occasions of Brock’s severe

mental health issues and his high risk of suicide, and yet in violation of policy issued a series of

punitive isolation punishments and did so with deliberate indifference to Brock’s serious mental

health conditions and in direct contravention of recommendations from Brock’s mental health

treatment providers.41 Defendants’ reliance on Deloney v. Cty. of Fresno, No.

117CV01336LJOEPG, 2018 WL 3388921, at *6 (E.D. Cal. July 11, 2018) is misplaced since in

that case, “there are no allegations that indicate any Corizon [prison] employee was aware of a

substantial risk of serious harm to Mayberry prior to the alleged July 4 suicide attempt”. The

court goes further to state the plaintiff failed to “specifically identify a Corizon policy or custom.

(Id at 7.) In the case at bar, however, the plaintiff alleges in the Amended Complaint that Officer

Taylor was aware of the substantial risk of harm to Brock in the punitive isolation environment,

and yet placed him in said environment and failed to watch over him and said environment in

contravention of the specifically alleged prison policy42. The Amended Complaint specifically

alleges that these failures constitute deliberate indifference on the part of Defendant Taylor.

Specifically, the Amended Complaint alleges, “Defendant Taylor should have known, and did

know, that Brock had a long history of severe mental health conditions including brain damage,

unspecified psychosis and major depressive disorder and was under treatment for these


41
     Amended Complaint ¶ 104.
42
     See CUCF Policy “FD18/12.03” as described above.


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conditions at the time Defendant Taylor imposed back-to-back sentences of 20 days in punitive

isolation.”43 Plaintiffs complaint also includes allegations of deliberate indifference for “failing

to follow policies”, “showing deliberate indifference to Brock serious mental health conditions,

and placing “Brock in punitive isolation was likely to and did cause or exacerbate Brock’s severe

mental illness etc. 44” Additionally, plaintiffs alleges that due to the above, the defendant knew

“the crushing psychological impact to prolonged isolation and Brock’s death was manifestly

foreseeable.”45


     B. Officer Cox was deliberately indifferent to a known and obvious risk of suicide.

        Defendants base this entire claim on an allegation that Plaintiff’s pleadings are deficient.

Specifically, the Defendant states,

        There are no specific allegations that indicate that Officer Cox deliberately
        ignored a known risk of suicide. Many of the cases addressing prison suicides
        involve inmates who are new or unknown to the prison officials and unknown or
        undiagnosed mental health problems. Here, to defeat a claim of qualified
        immunity Plaintiff must show that Officer Cox had “a particularized state of
        mind: actual knowledge by a prison official of an individual inmate's substantial
        risk of suicide.” Plaintiff can “only succeed on this species of claim by presenting
        facts suggesting that the facility staff had knowledge of the specific risk that the
        deceased inmate would commit suicide.46

        Contrary to Defendant’s motion for judgment on the pleadings, the Plaintiff has made

specific allegations against Defendant Cox. First plaintiff alleges “Defendant Cox knew and

should have known, that Brock had a long history of severe mental health conditions including

brain damage, unspecified psychosis, and major depressive disorder; that Brock was under

treatment for these conditions; and that prolonged periods of isolation tortured Brock and would

cause or exacerbate severe mental illness, mental anguish, helplessness, depression, anxiety,

43
   Amended Complaint ¶ 103.
44
   Amended Complaint ¶ 103, 104, 105.
45
   Amended Complaint ¶ 107.
46
   Motion for Judgment on Pleadings pg. 14.


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insanity, and suicidal tendencies.”47 Furthermore, Plaintiff states that “[o]n the day of Brock’s

death Defendant Cox should have known and did know that Brock was a significantly increased

suicide risk.”48 Plaintiff further alleges that with deliberate indifference d=Defendant Cox

entered Brock cell alone and got into a verbal altercation with Brock, and refused to allow him

out for the day. Plaintiff also alleges that Defendant Cox, again acting with deliberate

indifference, failed to monitor Brock to prevent his suicide even when put on notice of the

possibility of a suicide attempt when Brock hung a towel over the window of his cell prior his

suicide.”49

        In Farmer v. Brennan, 511 U.S. 825, 828–29, 114 S. Ct. 1970, 1974, 128 L. Ed. 2d 811

(1994), the Supreme Court of the United States held,


        A prison official's “deliberate indifference” to a substantial risk of serious harm to
        an inmate violates the Eighth Amendment. See Helling v. McKinney, 509 U.S. 25,
        113 S.Ct. 2475, 125 L.Ed.2d 22 (1993); Wilson v. Seiter, 501 U.S. 294, 111 S.Ct.
        2321, 115 L.Ed.2d 271 (1991); *829 Estelle v. Gamble, 429 U.S. 97, 97 S.Ct. 285,
        50 L.Ed.2d 251 (1976).

        The Court went further to set forth the requirements for an Eighth Amendment violation.

This is a two-step analysis with the first step requiring, “the deprivation allege must be

objectively sufficiently serious,” and must result in the denial of a minimal civilized major of

life’s necessities”, and finally “the inmate must show he is incarcerated under conditions posing

a substantial risk of serious harm.” (Id. at 834) The second requirement under Farmer in

showing a violation of the cruel and unusual punishments clause, “a prison official must have a

sufficiently culpable state of mind.” The Court further states, “in prison conditions cases, that

state of mind is one of deliberate indifference to inmate health or safety.” (Id. at 834)


47
   Amended Complaint ¶ 114.
48
   Amended Complaint ¶ 115.
49
   Amended Complaint ¶ 117.


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As set forth in Point II above, the Amended Complaint specifically alleges that Officer Cox acted

in specific instances and with specific knowledge in deliberate indifference to Brock’s health or

safety.50

          Defendants again cite the unpublished decision of Graham v. Van Der Veur, 986 F.2d

1427 (10th Cir. 1992), stating that, “claims a verbal exchange between himself and some of the

defendants triggered a ‘psychotic episode’” establish that a verbal argument between an inmate

and a guard does not constitute a actionable eighth amendment claim. Again, Defendants failed

to set forth the entirety of the allegations contained in the Amended Complaint. As set forth

above, Plaintiff specifically allege that Officer Cox should have known and knew of his severe

mental health condition based on extensive records of medical reports prior to and during

incarceration at the prison. The Amended Complaint alleges Officer Cox knew that isolation

would trigger suicide and was informed of imminent suicide when Brock placed a towel over the

window of his isolation cell, yet Defendant Cox failed to act in deliberate indifference to the

safety and life of Brock Tucker. These allegations go far beyond the facts in the Graham

decision, where the inmate was brand-new and none of the officers had any idea of his mental

health condition or the effect punitive isolation would have on said condition.

          Defendants rely on the case of Taylor v. Barkes, 135 S. Ct. 2042, 2043, 192 L. Ed. 2d 78

(2015), to support their contention that failure to put an inmate on suicide watch does not

constitute an Eighth Amendment constitutional violation. That case, however, dealt with whether

the failure to adequately and accurately implement intake suicide screening. The facts of that

case were that a nurse screened the deceased using a standard protocol for suicide screening

listing 17 suicide risk factors. According to the assessment tool if an individual indicated on at

least eight of the 17 factors, suicide watch would be implemented. In Taylor, the deceased
50
     Amended Complaint paragraphs 118-119.


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indicated on only two factors, and therefore the defendant would not have known of the

substantial risk of significant harm. The Supreme Court stated,

                 “Qualified immunity shields government officials from civil damages
        liability unless the official violated a statutory or constitutional right that was
        clearly established at the time of the challenged conduct.” Reichle v. Howards, 566
        U.S. ––––, ––––, 132 S.Ct. 2088, 2093, 182 L.Ed.2d 985 (2012). “To be clearly
        established, a right must be sufficiently clear that every reasonable official would
        have understood that what he is doing violates that right. (Taylor v. Barkes, 135 S.
        Ct. 2042, 2044, 192 L. Ed. 2d 78 (2015))


        Defendants failed to cite controlling case of Farmer v. Brennan, 511 U.S. 825, 828–29,

114 S. Ct. 1970, 1974, 128 L. Ed. 2d 811 (1994), where the Supreme Court of the United States

held, “A prison official's ‘deliberate indifference’ to a substantial risk of serious harm to an

inmate violates the Eighth Amendment.” In the case at bar however, plaintiff alleges that there

had been numerous evaluations of Brock Tucker, and the risk of suicide and other mental health

issues was clearly identified and obvious. Defendant Cox’s intentional ignoring of that

information constitute the deliberate indifference required to establish eighth amendment

liability.

                                             POINT III

Plaintiff has failed to allege a viable fourth claim under the Fourteenth amendment against
                       DCFS Director Platt and Juvenile Justice Burke.

        Plaintiff capitulates with regards to the issues raised against DCFS Director Platt and

Juvenile Justice Director Burke.


                                             POINT IV

   Plaintiff has adequately alleged sufficient facts that state a viable fifth claim for relief
against the Utah Department of Corrections for violation of the Americans with Disabilities
                                         Act (ADA).




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          Title II of the ADA provides that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132. Section 3(2) of the ADA defines "disability" to mean:

          (A) a physical or mental impairment that substantially limits one or more of the
          major life activities of such individual;
          (B) a record of such an impairment; or,
          (C) being regarded as having such an impairment. (42 U.S.C. § 12102(2)).

Further, 42 U.S.C.A. § 12133 provides, “The remedies, procedures, and rights set forth in section

794a of Title 29 shall be the remedies, procedures, and rights this subchapter provides to any

person alleging discrimination on the basis of disability in violation of section 12132 of this

title.”

          In Pennsylvania Department of Corrections v. Yeskey, 524 U.S. 206, 208-12 (1998), the

Court held that the ADA applied in the prison context. Furthermore, Congress clearly expressed

an intent under Title II of the ADA to abrogate the States' Eleventh Amendment Immunity. In

this regard, the ADA provides, “[a] State shall not be immune under the eleventh amendment to

the Constitution of the United States from an action in Federal or State court of competent

jurisdiction for a violation of this chapter.” (42 U.S.C. § 12202).


          The defense appears to be claiming that in order to prevail the Plaintiff needs to have a

specific intent to discriminate, rather than to have an intent to do acts which resulted in

discrimination. To support that claim, they cite Powers v. MJB Acquisition Corp., 184 F.3d

1147, 1152 (10th Cir. 1999). ”Thus the only question is whether Mr. Powers had to prove

intentional discrimination to receive an award of compensatory damages.6 The answer is yes”

they fail however to acknowledge footnote 6 states, “Wyo Tech seems to equate its version of




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intent with the specific intent to discriminate rather than an intentional commission of an act that

results in discrimination. There have been a wide variety of views on this subject”. (Powers v.

MJB Acquisition Corp., 184 F.3d 1147, 1153 (10th Cir. 1999)).

          A careful reading of Powers however would say differently. While the Plaintiff agrees

that there needs to be an intentional act which results in discrimination, Plaintiff does not need to

prove a malicious intent to discriminate for discrimination purposes. In Powers v. MJB

Acquisition Corp., 184 F.3d 1147, 1153 (10th Cir. 1999), the Court stated,

          In the context of the Rehabilitation Act, intentional discrimination against the
          disabled does not require personal animosity or ill will. Rather, intentional
          discrimination may be inferred when a policymaker acted with at least deliberate
          indifference to the strong likelihood that a violation of federally protected rights
          will result from the implementation of the [challenged] policy ... [or] custom.
          (citing Bartlett v. New York State Bd. of Law Examiners, 156 F.3d 321, 331 (2d
          Cir.1998).

          A review of the Amended Complaint in the present case shows ample evidence where the

Plaintiff as alleged intentional discrimination on the part of the Department of Corrections under

the Americans With Disabilities Act. The complaint alleges “UDC knew that Brock’s serious

mental impairments predated his incarceration at CUCF. Thus, he was disabled, as defined by

the ADA, and a handicapped individual, as defined by the Rehabilitation Act. UDC incarcerated

Brock in its CUCF facility. Thus, he was a qualified individual for the purposes of both statutes.
51
     Further, the complaint alleges “The provision of housing is undoubtedly a program, service, or

activity of any incarceration facility, including CUCF. Because it incarcerates people and

controls every aspect of their lives, UDC has a responsibility to make reasonable

accommodations to provide safe housing for disabled inmates even if accommodations are not

expressly requested.”52


51
     Amended Complaint paragraph 150.
52
     Amended Complaint paragraph 151.


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        The next paragraph provides, “UDC’s employees and/or agents reviewed Brock’s

personal and medical history. UDC “knew that Brock had brain damage, a low IQ, impulse

control disorder, unspecified psychosis, and major depressive disorder. UDC knew these mental

impairments substantially limited Brock’s major life activities, including his abilities to care for

himself, learn, concentrate, work, and think. Brock previously attempted suicide, and UDC knew

he presented a serious risk of suicide while incarcerated.”53

        The complaint goes on to allege, “Despite this knowledge, UDC excluded Brock from,

and denied him participation in, its programs, services, and activities, and discriminated against

Brock because of his disability by failing to make reasonable accommodations for him to be able

to take his medications as prescribed, disciplining him for his disability-related behavior, housing

him in conditions that endangered him – locking him in a solitary cell with an obvious tie-off

point and a hanging implement – and, finally, failing to carefully monitor him or equip its staff

with training, polices, or procedures to make the accommodations needed to keep Brock safe.”54

        The next paragraph specifically alleges intentional discrimination and/or deliberate

indifference with regards to failing to accommodate under the ADA. That paragraph reads as

follows:

        Theses failures constitute discrimination solely by reason of disability because
        UDC knew of Brock’s serious mental impairments and resulting limitations, and
        knew those limitations required accommodations to ensure the proper
        administration of his medication, to not subject Brock to disciplinary measures
        because of his disability, and to make his housing conditions as safe as that
        afforded to non-disabled inmates, yet failed to take such measures. In fact, UDC
        repeatedly punished Brock for his disability-related behavior by continually
        locking him in solitary cells because of his conduct. Thus, the failures to
        reasonably accommodate Brock’s known disability-related needs were the result of
        either intentional decisions, or decisions made with deliberate indifference to the
        increased risk of substantial harm to Brock, and ultimately caused his death. 55

53
   Amended Complaint paragraph 153.
54
   Amended Complaint paragraph 154.
55
   Amended Complaint paragraph 155.


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                                                 POINT V

       The law is clearly established to put any State Defendant on notice that the conduct
            committed against Brock Tucker was a knowing constitutional violation.

                   Point V of the Defendant’s motion for judgment on the pleading is somewhat

confusing. They claim that there is not clearly established law to establish any State Defendant

committed a knowing constitutional violation. They then begin citing case law that has to do

with a Section 1983 action, which the Plaintiff does not dispute precludes an action against State

Defendants in their official capacity. The Amended Complaint alleges that four State Defendants

are being sued pursuant to 42 USC §1983 in their individual capacities, and that in their

individual capacities they and each of them violated Brock’s constitutional rights.56 In Redmond

v. Crowther, 882 F.3d 927, 939-940 (10th Cir. 2018) the Court defined Deliberate Indifference to

Serious Medical Needs as follows: “[D]eliberate indifference to serious medical needs of

prisoners” violates the Eighth Amendment. The Supreme Court of the United States, in Farmer

v. Brennan, Farmer v. Brennan, 511 U.S. 825, 114 S. Ct. 1970, 128 L. Ed. 2d 811 (1994), set the

standard to be applied in both jail and prison conditions § 1983 cases as the standard of

"deliberate indifference." This issue has been addressed and discussed in detail in Points I & II

above, and rather than restating those arguments, Plaintiff incorporates them by reference in this

issue.

           The Defendants then claims, “there is no clearly establish right of an inmate to be

adequately screen for suicide.”57 As discussed in Points I & II above, Plaintiffs are not alleging

that the defendants violated the right of an inmate to be adequately screened for suicide. Instead,

plaintiffs are alleging that Brock Tucker was screened for suicide on numerous occasions, that all


56
     Amended Complaint page 19.
57
     Motion for Judgment on Pleadings page 22.


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the state defendants in their individual capacity were aware of his suicide risk and deliberately

ignored that risk, thus constituting an Eighth Amendment claim under section 1983.

           Defendants then claim that no clearly established law existed that put the state defendants

on fair notice of that the described conduct was unconstitutional.58 As set forth in Point I above,

in Cox v. Glanz, 800 F.3d 1231, 1247–48 (10th Cir. 2015) the Court held,

           Prison and jail officials, as well as the municipal entities that employ them, *1248
           cannot “absolutely guarantee the safety of their prisoners.” Lopez v. LeMaster, 172
           F.3d 756, 759 (10th Cir.1999). Nonetheless, they “ha[ve] a constitutional duty to
           take reasonable steps to protect the prisoners' safety and bodily integrity.” Berry v.
           City of Muskogee, 900 F.2d 1489, 1499 (10th Cir.1990). “[C]laims based on a jail
           suicide are considered and treated as claims based on the failure of jail officials to
           provide medical care for those in their custody.” Barrie v. Grand Cty., 119 F.3d
           862, 866 (10th Cir.1997). Therefore, such claims “must be judged against the
           ‘deliberate indifference to serious medical needs' test.”

In the present case, Plaintiff has alleged that the State Defendants, in their individual capacities,

failed to take reasonable steps to protect Brock and that his suicide was based on the failure of

prison officials to provide medical care for those in custody. Plaintiff has alleged that each of the

State Defendants, in their individual capacities, were deliberately indifferent to his medical and

personal needs, and therefore they had been put on notice and violated those constitutional

mandates.


                                                 POINT VI


      Plaintiff has adequately alleged facts that state a viable sixth claim for relief under the
                 Utah Constitution Article I, Section 9 Unnecessary Rigor Clause.


           While plaintiffs acknowledge that this Court has already dismissed the DCFS defendants

FTC and Cottle stating that the Amended Complaint did not make adequate factual allegations,

the remaining defendants have numerous unnecessary rigors claims against them in the Amended
58
     Motion for Judgment on Pleadings page 22.


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Complaint. The DCFS Defendants are in a different situation than the State Defendants and that

the DCFS allegations occurred long before Brock was incarcerated at the prison, and therefore

those Defendants would not have any control over the actions of the State Defendants.

          With regards to the State Defendants, the Plaintiff has made specific and detailed

allegations. First, the “Plaintiff incorporate[ed] by reference each and every allegation contained

in [all] of the proceeding paragraphs” of the Amended Complaint in ¶ 157 of the Amended

Complaint. The complaint then goes on to claim that “existing remedies are not redressed

Brock’s injuries because there are no comparable remedies under the state, or statutory law and

because the protections of article 1 section 9 of the Utah Constitution are broader than those of

the United States Constitution.”59


          In Spackman ex rel. Spackman v. Bd. of Educ. of Box Elder Cty. Sch. Dist., 2000 UT 87,

¶ 23, 16 P.3d 533, 538, the Court required three elements be alleged to proceed for in an

Unnecessary Rigor claim. “First, a plaintiff must establish that he or she suffered a “flagrant”

violation of his or her constitutional rights.” (Id. at 538). “Second, a plaintiff must establish that

existing remedies do not redress his or her injuries. (Spackman ex rel. Spackman v. Bd. of Educ.

of Box Elder Cty. Sch. Dist., 2000 UT 87, ¶ 24, 16 P.3d 533, 538), and “Third, a plaintiff must

establish that equitable relief, such as an injunction, was and is wholly inadequate to protect the

plaintiff's rights or redress his or her injuries.” Spackman ex rel. Spackman v. Bd. of Educ. of Box

Elder Cty. Sch. Dist., 2000 UT 87, ¶ 25, 16 P.3d 533, 539.

          Regarding the first element, that the “plaintiff established a flagrant violation of his

constitutional rights”, the Plaintiff has set forth significant flagrant violations of his rights which

included the pain and suffering of solitary confinement, emotional abuse of solitary confinement,


59
     Amended Complaint paragraph 162.


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and the ultimate death as a result of the treatment by the Defendants. The Plaintiff alleges that

the “CUCF Defendants perpetrated, encouraged and/or approved of the acts and omissions

alleged herein and knew that such conduct was unjustified and was in violation of Brock’s

constitutional rights”… and the acts and omissions of the CUCF and Defendants were the direct

and proximate cause the death of Brock in that the CUCF Defendants caused, and failed to

prevent, the occurrence of constitutional violations suffered by Brock.60 There seems to be no

more flagrant violation of a constitutional right than cruelly implementing solitary confinement

to a suicidal and mentally deficient individual and allowing that individual to be treated in direct

contravention of the Defendants own doctor’s recommendations. As set forth in more detail in

Point I above Warden Bigelow had a duty to protect Brock Tucker and failed to do so in flagrant

violation (deliberate indifference) of his constitutional rights.

        Likewise, with regards to Dr. Garden, he was responsible for the mental and physical

health treatment of Brock Tucker, and with deliberate indifference failed to ensure that he had

adequate treatment of that the policy of punishment and the prison did not violate his

constitutional rights. Plaintiffs have alleged “At all relevant times, Defendant Bigelow was

responsible for the hiring and training of staff, and for the creation and oversight of policies,

practices and customs regarding the mental health treatment of inmates, the disciplinary process,

and the use of solitary confinement at CUCF during the period of time Brock was incarcerated at

that facility.”.61 Despite Defendants claim, Warden Bigelow was responsible for the CUCF

facility and despite defendants claim that Warden Bigelow had no personal knowledge or

interaction with [Brock] Tucker62, there is no evidence to that effect and Plaintiff has in fact

alleged that Bigelow was aware that CUCF subjected inmates, including Brock, to extremely

60
   Amended Complaint paragraphs 73- 77.
61
   Amended Complaint paragraph 8.
62
   Motion for Judgment on Pleadings pg. 10.


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disproportionate punishments, and repeated use of solitary confinement, and inflicted emotional

distress, loneliness, and failed to treat mentally ill inmates.63 Furthermore, Plaintiff alleges that

CUCF policy regarding outpatient care disciplinary actions was in effect during the relevant

period of time, and Warden Bigelow was the one responsible for that procedure to implement

and see that it was carried out.64

        With regards to Defendant Taylor, the Amended Complaint alleges the prison doctor

notified the inmate disciplinary hearing officer pursuant to that procedure and that Brock had a

mental illness with suicidal ideations. It is further alleged that Officer Taylor (IDHO) received

these notices. Despite this knowledge, the Amended Complaint alleges Defendant Taylor failed

to do his duty of following up on this matter and allowed the punitive isolation to occur on

numerous occasions including the last one in which Brock committed suicide.65 A more detailed

description of the deliberate indifference and flagrant violations is contained in Point II above

and will be referred to and incorporated by reference.

        With regards to Defendant Cox, plaintiff alleges “Defendant Cox knew and should have

known, that Brock had a long history of severe mental health conditions including brain damage,

unspecified psychosis, and major depressive disorder; that Brock was under treatment for these

conditions; and that prolonged periods of isolation tortured Brock and would cause or exacerbate

severe mental illness, mental anguish, helplessness, depression, anxiety, insanity, and suicidal

tendencies.”66 Furthermore, Plaintiff states that “[o]n the day of Brock’s death Defendant Cox

should have known and did know that Brock was a significantly increased suicide risk.”67

Plaintiff further alleges that with deliberate indifference, Defendant Cox entered Brock’s cell

63
   Amended Complaint paragraph 8.
64
   Amended Complaint paragraphs 65-67
65
   Amended Complaint paragraph 102-108.
66
   Amended Complaint paragraph 114.
67
   Amended Complaint parapgraph115.


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alone and got into a verbal altercation with Brock, and refused to allow him out for the day.

Plaintiff also alleges that Defendant Cox, again acting with deliberate indifference, failed to

monitor Brock to prevent his suicide even when put on notice of the possibility of a suicide

attempt when Brock hung a towel over the window of his cell prior his suicide.”68 A more

detailed description of the deliberate indifference and flagrant violations is contained in Point II

above, and will be referred to and incorporated by reference.

          With regards to the defendant Utah Department of Corrections, the Amended Complaint

states,

          Defendant Utah Department of Corrections (“UDC”) is a political subdivision of
          the State of Utah and is a recipient of federal funds. At all relevant times: UDC
          was responsible for the creation and oversight of programs, services, activities,
          policies, practices, and customs of the state’s prisons, including the mental health
          treatment of inmates, disciplinary processes, and general confinement practices;
          UDC was also responsible for administering, supervising and training employees
          and contractors who attended to inmates with medical and mental health
          problems; and UDC operated the Central Utah Correctional Facility (“CUCF”), a
          public facility with programs and services for which Brock Turner was otherwise
          qualified.69

          The Amended Complaint provides, “UDC’s employees and/or agents reviewed Brock’s

personal and medical history. UDC “knew that Brock had brain damage, a low IQ, impulse

control disorder, unspecified psychosis, and major depressive disorder. UDC knew these mental

impairments substantially limited Brock’s major life activities, including his abilities to care for

himself, learn, concentrate, work, and think. Brock had previously attempted suicide, and UDC

knew he presented a serious risk of suicide while incarcerated.”70

          The Amended Complaint goes on to allege, “Despite this knowledge, UDC excluded

Brock from, and denied him participation in, its programs, services, and activities, and


68
   Amended Complaint paragraph 117.
69
   Amended Complaint paragraph 7.
70
   Amended Complaint paragraph 153.


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discriminated against Brock because of his disability by failing to make reasonable

accommodations for him to be able to take his medications as prescribed, disciplining him for his

disability-related behavior, housing him in conditions that endangered him – locking him in a

solitary cell with an obvious tie-off point and a hanging implement – and, finally, failing to

carefully monitor him or equip its staff with training, polices, or procedures to make the

accommodations needed to keep Brock safe.”71

          The second element requires “a plaintiff must establish that existing remedies do not

redress his or her injuries. (Spackman ex rel. Spackman v. Bd. of Educ. of Box Elder Cty. Sch.

Dist., 2000 UT 87, ¶ 24, 16 P.3d 533, 538), the fact that a State Entity is immune from suit under

a Section 1983 action would demonstrate that the existing remedies against the Utah Department

of Corrections do not allow for the redress of Brock’s injuries. While the Americans with

disability act allows limited remedies, the allowed remedies against the Department of

Correction are significantly impacted and limited.

          Finally, the third element requires “a plaintiff must establish that equitable relief, such as

an injunction, was and is wholly inadequate to protect the plaintiff's rights or redress his or her

injuries.” Spackman ex rel. Spackman v. Bd. of Educ. of Box Elder Cty. Sch. Dist., 2000 UT 87, ¶

25, 16 P.3d 533, 539. It is undisputed that an injunction at this point would be useless, since

Brock Tucker has already died at the hands of the Defendants, so injunctive relief is totally

ineffective.


                                           CONCLUSION

          Based upon the foregoing, the Plaintiff acknowledges that case law on a section 1983

action grants immunity to the Defendants in their official capacities via the 11th Amendment. The


71
     Amended Complaint paragraph 154.


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Plaintiff, however, needs to ensure that the State Defendants cannot now claim they were acting

in their official capacity and thus somehow attempt to escape personal liability. With regards to

the Americans with Disability Act, the Plaintiff has alleged more than sufficient facts and law to

establish liability against the Department of Corrections and the individual State Defendants as

well. Finally, with regards to the unnecessary rigor claim, the plaintiffs have alleged adequate

facts, legally supported liability, and are entitled to proceed on with their claim against the

Defendants.

                                               DATED this 24th day of December 2018

                                               RANDALL W. RICHARDS

                                               /s/: Randall W. Richards

                                               RANDALL W. RICHARDS, Attorney for
                                               Plaintiff

                                               EMILY A. SWENSON PC

                                               /s/: Emily A. Swenson
                                               ________________________________
                                               EMILY A. SWENSON, Attorney for Plaintiff




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